    Case: 20-50264    Document: 00515366143 Page: 1 Date Filed: 03/31/2020
        Case 1:20-cv-00323-LY Document 46 Filed 03/31/20 Page 1 of 3




                  United States Court of Appeals
                                FIFTH CIRCUIT
                             OFFICE OF THE CLERK
LYLE W. CAYCE                                                TEL. 504-310-7700
CLERK                                                     600 S. MAESTRI PLACE,
                                                                  Suite 115
                                                         NEW ORLEANS, LA 70130

                             March 31, 2020
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
      No. 20-50264    Gregg Abbott, et al
                      USDC No. 1:20-CV-323

Enclosed is an order entered in this case.


                                 Sincerely,
                                 LYLE W. CAYCE, Clerk



                                 By: _________________________
                                 Melissa V. Mattingly, Deputy Clerk
                                 504-310-7719
Ms. Jeannette Clack
Mrs. Molly Rose Duane
Mr. Kyle Douglas Hawkins
Ms. Julie A. Murray
Ms. Elizabeth Baker Murrill
Mr. Patrick J. O'Connell
Mr. Rupali Sharma
Ms. Stephanie Toti
    Case: 20-50264    Document: 00515366144 Page: 1 Date Filed: 03/31/2020
        Case 1:20-cv-00323-LY Document 46 Filed 03/31/20 Page 2 of 3




          IN THE UNITED STATES COURT OF APPEALS
                  FOR THE FIFTH CIRCUIT

                                ___________________

                                   No. 20-50264
                                ___________________

In re: GREGG ABBOTT, in his official capacity as Governor of Texas; KEN
PAXTON, in his official capacity as Attorney General of Texas; PHIL
WILSON, in his official capacity as Acting Executive Commissioner of the
Texas Health and Human Services Commission; STEPHEN BRINT
CARLTON, in his official capacity as Executive Director of the Texas Medical
Board; KATHERINE A. THOMAS, in her official capacity as the Executive
Director of the Texas Board of Nursing,

            Petitioners
                              _______________________

                       Petition for a Writ of Mandamus
                  to the United States District Court for the
                          Western District of Texas
                           _______________________

Before DENNIS, ELROD, and DUNCAN, Circuit Judges.

PER CURIAM:

      IT IS ORDERED that the district court’s order of March 30, 2020 (Dkt.
No. 40) is TEMPORARILY STAYED until further order of this court to allow
this court sufficient time to consider petitioners’ emergency motion for stay
and petition for writ of mandamus.

      IT IS FURTHER ORDERED that plaintiffs-respondents be directed to
file a response to the emergency motion for stay no later than Wednesday, April
1, 2020, at 8:00 a.m. Any reply by petitioners is due no later than Wednesday,
April 1, 2020, at 8:00 p.m.
    Case: 20-50264    Document: 00515366144 Page: 2 Date Filed: 03/31/2020
        Case 1:20-cv-00323-LY Document 46 Filed 03/31/20 Page 3 of 3




      IT IS FURTHER ORDERED that plaintiffs-respondents be directed to
file a response to the petition for writ of mandamus no later than Thursday,
April 2, 2020, at 8 p.m. Any reply by petitioners is due no later than Friday,
April 3, 2020, at 5 p.m.

      IT IS FURTHER ORDERED that the filing of an amicus brief by States,
Alabama, Arkansas, Idaho, Indiana, Kentucky, Louisiana, Mississippi,
Missouri, Nebraska, Ohio, Oklahoma, South Carolina, South Dakota,
Tennessee, Utah, and West Virginia, is allowed.

JAMES L. DENNIS, Circuit Judge, dissenting:
      A federal judge has already concluded that irreparable harm would flow
from allowing the Executive Order to prohibit abortions during this critical
time. I would deny the stay. Moreover, I write separately to make clear that,
per the Executive Order, “any procedure that, if performed in accordance with
the commonly accepted standard of clinical practice, would not deplete the
hospital capacity or the personal protective equipment needed to cope with the
COVID-19 disaster” is exempt.
